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                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   JENNY LISETTE FLORES; et al.,                Case No. CV 85-4544-DMG
17
              Plaintiffs,
18                                                STIPULATION TO EXTEND
19
                   v.                             DEADLINE TO COMPLETE
                                                  COMPLIANCE WITH
20   WILLIAM P. BARR, Attorney                    PARAGRAPH 1 OF THE
     General of the United States; et al.,        COURT’S JUNE 26, 2020 ORDER
21

22                                                Hearing: None set
              Defendants.
23                                                [HON. DOLLY M. GEE]
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 1         The parties, by and through undersigned counsel, hereby stipulate to extend
 2
     by ten days, until July 27, 2020, the deadline for Defendants to complete compliance
 3

 4   with Paragraph 1 of the Court’s June 2, 2020 Order, ECF No. 833 (“Order”). That

 5   Paragraph sets a deadline by which U.S. Immigration and Customs Enforcement
 6
     (“ICE”) must:
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 8
           transfer Class Members who have resided at the FRCs for more than 20
           days to non-congregate settings through one of two means: (1) releasing
 9         minors to available suitable sponsors or other available COVID-free
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           non-congregate settings with the consent of their adult
           guardians/parents; or (2) releasing the minors with their
11         guardians/parents if ICE exercises its discretion to release the adults or
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           another Court finds that the conditions at these facilities warrant the
           transfer of the adults to non-congregate settings.
13
     Order, ¶ 1.
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15         Paragraph 6 of the Order requires that the parties meet and confer regarding
16   the adoption and implementation of proper written advisals and other protocols to
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     inform detained guardians/parents about minors’ rights under the FSA and obtain
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19   information regarding, and procedures for placement with, available and suitable

20   sponsors. 1
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     1
       Footnote 5 of Paragraph 6 further states: “To provide further guidance to the
23
     parties, the Court clarifies that any ‘waiver’ should be only as narrow as the issue
24   being waived. For example, a parent/guardian may waive a Class Member’s Flores
     right to release ‘without unnecessary delay’ to an available suitable custodian in the
25
     order of preference listed in Paragraph 14, if that parent/guardian does not prefer for
26   the Class Member to be released to that custodian, without waiving any of the Class
     Member’s other Flores rights. See FSA at ¶ 14 [Doc. # 101]. On the other hand, the
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 1         The parties are diligently engaging in discussions to comply with Paragraph
 2
     6 of the Order. 2 The parties currently aim to provide documents for the Court’s
 3

 4   review and approval and, if necessary, resolution of any issues, no later than July 20,

 5   2020. Accordingly, the parties jointly request that the Court extend the deadline for
 6
     Defendants to complete compliance with Paragraph 1 of the Order to and including
 7

 8
     July 27, 2020.

 9                                    Respectfully submitted,
10
     Dated: June 15, 2020             /s/Peter Schey (with permission)
11                                    Peter A. Schey
12
                                       CENTER FOR HUMAN RIGHTS &
                                       CONSTITUTIONAL LAW
13
                                       Class Counsel for Plaintiffs
14

15                                    /s/ Sarah Fabian
                                      Sarah B. Fabian
16
                                      Senior Litigation Counsel
17                                    U.S. DEPARTMENT OF JUSTICE
                                      Office of Immigration Litigation
18
                                      District Court Section
19
                                      Counsel for Defendants
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24
     guardian/parent of a Class Member who simply has no available suitable custodian
25   need not sign any waiver at all.”
     2
26
       Defendants do not concede that these processes are required by the Flores
     Settlement Agreement, nor do Defendants waive any right to appeal the Order by
     making this request.
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 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on June 15, 2020, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                  /s/ Sarah B. Fabian
 8                                                SARAH B. FABIAN
 9
                                                  U.S. Department of Justice
                                                  District Court Section
10                                                Office of Immigration Litigation
11
                                                  Attorney for Defendants
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